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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                     UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                        V.                                         (For Offenses Committed On or After November I, 1987)
               AMANDA MICHEAL RIOS (1)
                                                                       Case Number:         13CRI773-JLS

                                                                   Federal Defenders, Inc.,
                                                                    Defendant's Attorney
REGISTRATION NO.                 39644298
D­
IZI pleaded guilty to count(s)        One of the Superseding Information
                                                                                                                              ,! , C"~ !
                                                                                                                                       ,
                                                                                                  L
D     was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                   Nature of Offense                                                                 Number(s)
18 USC 1952(a)(3)                 TRAVEL IN AID OF RACKETEERING                                                           1




    The defendant is sentenced as provided in pages 2 through                 4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D     The defendant has been found not guilty on count(s)

IZI Count(s)     (underlying Indictment)                      is          dismissed on the motion of the United States.

IZI   Assessment: $lOO.OO imposed




IZI   No fine                 D Forfeiture pursuant to order filed                                             , included herein.
       IT IS ORDERED that the defendant shall notity the United States Attorney for this distriCt within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notity the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    May 16.2014




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                                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of:
Twenty-One (21) Months




      Sentence imposed pursuant to Title 8 USC Section 1326(b).
181   The court makes the following recommendations to the Bureau of Prisons:
         1. Residential Drug Abuse Program (RDAP).
         2. A facility in the Western Region of the United States to accommodate family visits.
         3. Vocational and educational programs.


o     The defendant is remanded to the custody ofthe United States Marshal.

o     The defendant shall surrender to the United States Marshal for this district:
      o    at _ _ _ _ _ _ _ _ A.M.                           on
      o    as notified by the United States Marshal.
                                                                  -------------------------------------
      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o     Prisons:
      o     on or before
      D     as notified by the United States Marshal.
      o    as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:


                               ------------------------- to ------------------------------
      Defendant delivered on


at ________________ , with a certified copy of this judgment.


                                                                  UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL



                                                                                                         13CR1773-JLS
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three (3) Years


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
D
           substance abuse. (Check, if applicable.)
IZl        The defendant shall not possess a flrearm, ammunition, destructive device, or any other dangerous weapon.
           The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
           Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
           The defendant shall comply with the requirements of the Sex Offender Registration and Notiflcation Act (42 U.S.C. § 16901, et
D          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
           resides, works, is a student, or was convicted of a qualifYing offense. (Check if applicable.)
D          The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

            If this judgment imposes a flne or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such flne or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
       of Payments set forth in this judgment.
           The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
       with any special conditions imposed.
                                         STANDARD CONDITIONS OF SUPERVISION
      I)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
      2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
      4)  the defendant shall support his or her dependents and meet other family responsibilities;
      5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
      6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
      7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
          any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
      10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
          observed in plain view of the probation officer;
      II) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of
          the court; and
      13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
          with such notification requirement.



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                               SPECIAL CONDITIONS OF SUPERVISION

   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

   Consent to third party disclosure to any employer, potential employer, concerning any restrictions that are
   imposed by the court.

   Not use or possess devices which can communicate data via modem or dedicated connection and may not
   have access to the Internet without prior approval from the court or the probation officer. The offender shall
   consent to the installation of systems that will enable the probation officer to monitor computer use on any
   computer owned or controlled by the offender. The offender shall pay for the cost of installation of the
   computer software.

   Not associate with, or have any contact with any known sex offenders unless in an approved treatment
   and/or counseling setting.

   Not have any contact, direct or indirect, either telephonically, visually, verbally, or through written material,
   or through any third-party communication, with the victim or victim's family, without prior approval of the
   probation officer.

   With exception to defendant's children, not have unsupervised contact with any child under the age of 18,
   unless in the presence of a supervising adult (who is aware of the defendant's deviant sexual behavior and
   conviction), and with the prior approval of the probation officer.

   Not accept or commence employment or volunteer activity without prior approval of the probation officer,
   and employment should be subject to continuous review and assessment by the probation officer.

   Not loiter within 200 yards of a school, schoolyard, playground, park, amusement center/park, public
   swimming pool, arcade, daycare center, carnival, recreation venue, library and other places pre-dominantly
   frequented by persons under the age of 18, without prior approval of the probation officer.

   Reside in a residence approved in advance by the probation officer, and any changes in residence shall be
   pre-approved by the probation officer.

   Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or
   data storage devices or media, and effects to search at any time, with or without a warrant, by any law
   enforcement or probation officer with reasonable suspicion concerning a violation of a condition of
   probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
   duties. 18 U.S.C. §§3563(b)(23); 3583(d)(3).

   Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and
   counseling, as directed by the probation officer. Allow for reciprocal release of information between the
   probation officer and the treatment provider. May be required to contribute to the costs of services rendered
   in an amount to be determined by the probation officer, based on ability to pay.



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